      Case: 1:19-cv-06670 Document #: 17 Filed: 05/15/20 Page 1 of 2 PageID #:61




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

PLUMBERS’ PENSION FUND, LOCAL 130, U.A.,                           )
PLUMBERS’ WELFARE FUND, LOCAL 130, U.A.,                           )
THE TRUST FUND FOR APPRENTICE AND                                  )
JOURNEYMAN EDUCATION AND TRAINING,                                 )
LOCAL 130, U.A., PLUMBERS’ RETIREMENT                              )
SAVINGS PLAN FUND, LOCAL 130, U.A., and                            )
CHICAGO JOURNEYMEN PLUMBERS’ LOCAL                                 )
UNION 130, U.A., GROUP LEGAL SERVICES PLAN                         )
FUND,                                                              )
                                                                   )     Case No.: 19 CV 6670
                                                                   )
                                  Plaintiffs,                      )     Honorable Judge Pacold
                                                                   )
        v.                                                         )     Magistrate Judge Cummings
                                                                   )
STARR PLUMBING, INC,                                               )
                                                                   )
                                  Defendant.                       )

                                                Notice of Filing

To:     Starr Plumbing, Inc.
        Ms. Laura A. Scatchell, Registered Agent
        912 Norwood Drive
        Melrose Park, IL 60160


       PLEASE TAKE NOTICE that on May 15, 2020, the Plaintiffs filed the attached Status
Report and with the Clerk of the District Court for the United States, located at the Everett
McKinley Dirksen Building located at 219 South Dearborn Street, Chicago, Illinois.


                                                                   By:   /s/ Michael J. McGuire______
                                                                          Michael J. McGuire

Gregorio ♦ Marco
Attorneys for the Plaintiffs
2 N. LaSalle Street, Suite 1650
Chicago, IL 60602
312/263-2343
     Case: 1:19-cv-06670 Document #: 17 Filed: 05/15/20 Page 2 of 2 PageID #:62




STATE OF ILLINOIS)
                 ) SS
COUNTY OF COOK )

  Sonya Bain, being first duly sworn on oath, deposes and says that she served the above and
foregoing Status Report by depositing in the U.S. mail at Two North LaSalle Street, Suite 1650,
Chicago, IL, a true and correct copy thereof in a sealed envelope first class postage prepaid
addressed to the person to whom said Notice is directed on the 15th day of May, 2020 as well as
through the ECF system.

       Starr Plumbing, Inc.
       Ms. Laura A. Scatchell, Registered Agent
       912 Norwood Drive
       Melrose Park, IL 60160

       Under penalties as provided by law pursuant to Section 1-109 of the Code of
       Civil Procedure [735 ILCS 5/1-109], the undersigned certifies that the
       Statements set forth in this instrument are true and correct, except as to
       Matters therein stated to be on information and belief and as to matters the
       Undersigned certifies as aforesaid that he verily believes the same to be true.


                                    By: /s/ Sonya Bain




                                              2
